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                                              8
                                                   STACEY MARINO FKA STACEY SILVERSTEIN
                                              9

                                              10
                                                                             UNITED STATES DISTRICT COURT
                                              11
                                                                                  DISTRICT OF NEVADA
                                              12

                                              13     D.O. JANE DOE, an individual; K.Y. JANE           CASE NO. 2:23-cv-01929-APG-MDC
                                                     DOE, an individual; L.O. JANE DOE, an
                         Fax (702) 383-0701




                                              14     individual; L.O.J. JOHN DOE, an individual;
    OLSON CANNON & GORMLEY




                                                     P.K. JANE DOE, an individual;
        9950 West Cheyenne Avenue




                                              15
         A Professional Corporation

          Las Vegas, Nevada 89129




                                                                   Plaintiffs,                         DEFENDANTS COUNTY OF CLARK
               Law Offices of




                                              16                                                       AND STACEY SILVERSTEIN’S
                                                     vs.
                                                                                                       MOTION TO REMOBE COUNSEL
                                              17                                                       FROM CM/ECF SERVICE LIST AND
                                                     COUNTY OF CLARK, a political
                                                                                                       REQUEST TO DISCONTINUE
(702) 384-4012




                                              18     subdivision of the State of Nevada;
                                                     STACEY SILVERSTEIN, an individual,                NOTICE OF PROCEEDINGS
                                              19
                                                                   Defendants.
                                              20

                                              21
                                                           COMES NOW Defendants COUNTY OF CLARK and STACEY SILVERSTEI, by and
                                              22

                                              23   through their attorney of record STEPHANIE ZINNA, ESQ. and NATASHA SHARMA, ESQ.

                                              24   of the law firm OLSON CANNON & GORMLEY hereby request removal from the CM/ECF
                                              25
                                                   Service List, of attorney FELICIA GALATI, ESQ. of the law firm OLSON CANNON &
                                              26
                                                   GORMLEY, and Discontinuation of Notice of Proceedings to Attorney FELICIA GALATI,
                                              27
                                                   ESQ. Attorney FELICIA GALATI, ESQ. will no longer be representing these moving
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